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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ALABAMA
CRETA MAY DANIEL, et al.                              *
               PLAINTIFF,                             *
                                *
vs                              * CASE NO. 5:15-cv-00101-AKK
                                *
CULLMAN COUNTY COURT REFERRAL, *
LLC, et al.                    *
             DEFENDANT(s).     *

          COMES NOW, the Plaintiff(s) by and through their attorney of record, Melvin Hasting,
and supplements the amendment to the previously filed complaint, and alleges the following:
     1)       The plaintiffs in this matter are to include Misty Nail, Misty Creel and Juvenile #1
              A.D.P. and Juvenile #2 P.F.M.
     2)       The plaintiff(s) Nail and Creel are all over the age of 19 years and are bona fide
              citizens of Cullman County and/or residents and citizens of the State of Alabama
              and/or persons subjected to drug treatment, assessment, and monitoring pursuant
              to a court order or under the direction of the various prosecution offices within the
              State of Alabama.
     3)       Plaintiff Juvenile #1 A.D.P. is under the age of 18 at this time and during the time
              that the plaintiff was subjected to sexual exploitation by the Defendant Winfred
              Eugene Vance, Jr., while he was employed at Cullman County Court Referral, LLC
              and while on the premises of Cullman County Court Referral.
     4)       Plaintiff Juvenile #2 P.F.M. is over the age of 19, but her claims of sexual
              exploitation at the hands of Vance occurred during the time that she was under the
              age of 18, and therefore, it would be inappropriate to disclose her identity to the
              public.
     5)       That Juvenile(s) #1 A.D.P. and #2 P.F.M. were directed to attend and participate in
              the court referral program at Cullman County Court Referral by either Juvenile
              Probation of Cullman County and/or as a part of a dependency action in which they
              were involved.
     6)       That Juvenile(s) #1 A.D.P. and #2 P.F.M. were directed by Defendant Vance to
              disrobe before him while they were providing a urine sample that he DIRECTLY
              observed.




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   7)       That Defendant Vance used his position of authority to direct Juvenile(s) #1 A.D.P.
            and #2 P.F.M. to comply with his commands.
   8)       That Defendant Vance acted under the color of the State as a “court referral officer”
            and abused his position of authority over the various participants in the Cullman
            County Court Referral Program, especially women and the juvenile plaintiff(s) in this
            matter to coerce and intimidate his victims to comply with his demands.
   9)       This all occurred while he was employed and under the control of the Defendants
            Keller, Sharpton and Cullman County Court Referral, LLC.
   10)      That these plaintiff(s) were deprived of their civil rights as alleged in the complaint
            for the other named and unnamed plaintiffs.
   11)      The aforementioned Plaintiff(s) re-aver, allege, and adopts all previous provisions,
            paragraphs and allegations contained within the complaint previously filed in this
            matter.
   12)      The allegations set forth in the previous complaint and adopted herein which involve
            the aforementioned plaintiff(s) all occurred in Cullman County.
WHEREFORE, Plaintiff(s) demand judgment against Defendants, both jointly and severally, in
an amount which will fully compensate them for their damages, losses and injuries, to be
determined by the trier of fact, plus interest, attorney fees and costs plus punitive damages in
the amount of ten million dollars ($10,000,000.)

Done this 26th day of January, 2015.


                                             s/Melvin Hasting ______
                                             Melvin Hasting, (HAS016)
                                             Attorney for Plaintiff(s)
                                             407 2nd Ave SW
                                             P.O. Box 517
                                             Cullman, Al 35056-0517
                                             (256) 736-2230

                                       Certificate of Service
        I hereby certify that a copy of the foregoing has served upon the Defendant(s) Cynthia
Keller Shabel, Lisa Sharpton and Cullman C.R.O., and Winfred Eugene Vance, Jr. by mailing a
copy of the same in the U.S. Mail, postage prepaid.
  This the 26th day of January, 2015

                                         s/Melvin Hasting ______
                                         Melvin Hasting, (HAS016)




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